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 8
                                  UNITED STATES DISTRICT COURT FOR
 9
                                 THE CENTRAL DISTRICT OF CALIFORNIA
10

11                                                 )   Case No.: _________________
     SHAYNA LATHUS, an individual                  )
12                                                 )   CIVIL RIGHTS COMPLAINT:
                    Plaintiff,                     )
13                                                 )   (1) VIOLATION OF 42 U.S.C. § 1983
            v.                                     )   [COMPELLED SPEECH]
14                                                 )
     CITY OF HUNTINGTON BEACH, a                   )   (2) VIOLATION OF 42 U.S.C. § 1983
15                                                 )   [FIRST AMENDMENT RETALIATION]
     municipal entity, and DOES 1-20, inclusive,   )
16                                                 )
                    Defendants.                    )   DEMAND FOR JURY TRIAL
17                                                 )
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                                             COMPLAINT - 1
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 1                                    JURISDICTION AND VENUE

 2          1.      This action is for declaratory relief, injunctive relief, and damages pursuant to

 3   42 U.S.C. § 1983 based upon the continuing violations of Plaintiff Shayna Lathus’s rights under

 4   the First Amendment to the United States Constitution.

 5          2.      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because this case is

 6   based on 42 U.S.C. § 1983 and questions of federal constitutional law. This Court also has

 7   jurisdiction under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

 8          3.      The Central District of California is the appropriate venue because the events and

 9   conduct complained of herein all occurred in the Central District.

10          4.      Plaintiff demands a jury trial for all issues so triable.

11                                                PARTIES

12          5.      Plaintiff Shayna Lathus is an individual residing in Huntington Beach, California.

13          6.      Defendant City of Huntington Beach (“Huntington Beach”) is a municipality in

14   the State of California.

15          7.      The true names or capacities, whether individual, corporate, associate or

16   otherwise of the Defendants named herein as Does 1-20, inclusive, are presently unknown to

17   Plaintiff, who therefore sues said Defendants by such fictitious names. Plaintiff will pray for

18   leave to amend this Complaint to show the true names or capacities of these Defendants if and

19   when the same have been determined.

20                                     FACTUAL ALLEGATIONS

21          8.      Free speech plays an essential role in our democracy. For free people to govern

22   themselves, they must be free to openly and publicly express themselves.

23          9.      As a public school teacher and active participant in local civics, Plaintiff Shayna

24   Lathus has long dedicated time and speech to the service of her fellow Californians. In 2018, Ms.

25   Lathus ran for city council in her hometown of Huntington Beach, California. She did not win a

26   seat, but her colleague Kim Carr (“Carr”) did.




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 1          10.     Carr is currently the Mayor of Huntington Beach. She was elected to the City

 2   Council in 2018, and became mayor in December of 2020.

 3          11.     Shortly after Carr was sworn in as council member of Huntington Beach after the

 4   2018 general election, Carr appointed Ms. Lathus as a member of the Huntington Beach Citizen

 5   Participation Advisory Board (“HB CPAB”). Ms. Lathus agreed to be a member of HB CPAB

 6   because it presented her with an opportunity to help her fellow Huntington Beach residents,

 7   participate in local government, and gain experience and name recognition locally as a

 8   springboard to further a career in politics and within Huntington Beach so that she could

 9   continue to serve her community.

10          12.     Ms. Lathus faithfully and satisfactorily served on the HB CPAB. She was

11   respected by the other members of the HB CPAB, regardless of differing political views or

12   affiliations, and she enjoyed the work. Ms. Lathus attended every meeting of the HB CPAB. Ms.

13   Lathus never received any complaints about her work on the HB CPAB, from Carr or from

14   anyone else.

15          13.     On April 27, 2019, Ms. Lathus participated in public debate and expression by

16   attending a rally in Huntington Beach, California (“April 27 Rally”). She was motivated to attend

17   the April 27 Rally after learning that anti-immigrant groups had planned a protest against

18   California’s sanctuary laws. She wore a shirt that expressed “Bridges, Not Walls,” and she joined

19   in chants supporting the immigrant community.

20          14.     Carr later called Ms. Lathus and stated that Carr had seen a photograph of Ms.

21   Lathus at the April 27 Rally standing near individuals dressed in black that Carr identified as

22   “Antifa” members. Carr instructed Ms. Lathus to write a public statement on social media

23   denouncing Antifa.

24          15.     On April 29, because Carr had instructed her to do so, and because Ms. Lathus

25   reasonably understood from Carr that Ms. Lathus’s position on the HB CPAB depended on her

26   making a statement, Ms. Lathus posted a statement on social media. In the statement, she stated




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 1   that she supports law enforcement officers, she also supports immigrants’ rights, she was not

 2   aware that people identifying as Antifa would be present at the rally, and she did not engage with

 3   people identified as Antifa.

 4             16.     Carr then told Ms. Lathus that her statement was “not enough” because Ms.

 5   Lathus did not “denounce” Antifa. Carr asked Ms. Lathus to resign from the HB CPAB. Ms.

 6   Lathus did not want to resign from the HB CPAB.

 7             17.     After the call, Ms. Lathus wanted to speak with her advisors and to get more

 8   clarification from Carr on exactly what Carr required Ms. Lathus to say. However, the next day,

 9   before Ms. Lathus could talk to Carr again, Ms. Lathus discovered through a social media post

10   that Carr had “removed” Ms. Lathus from the HB CPAB, which in parlance is known as being

11   fired by tweet.

12             18.     Carr then made a social media post stating that “[t]hose that do not immediately

13   denounce hateful, violent groups do not share my values and will not be a part of my team.”

14             19.     By forcing Ms. Lathus to make a public statement about her attendance at the

15   April 27 Rally under threat of losing her position on the HB CPAB, Defendant violated Ms.

16   Lathus’s right to be free from government compelled speech. By firing Ms. Lathus from her

17   position on the HB CPAB for attending the rally, for not denouncing Antifa, and for associating

18   with people Carr identified as “Antifa,” Defendant violated Ms. Lathus’s free speech,

19   association, and assembly rights and retaliated against her for exercising those First Amendment

20   rights.

21             20.     Defendant has a persistent and widespread policy, custom, or equivalent to punish

22   and retaliate against its employees and volunteers who engage in protected First Amendment

23   activities, which was the driving force that led to Ms. Lathus being removed from HB CPAB.

24   For example, before Ms. Lathus was appointed to the HB CPAB, Defendant forced another

25   member of HB CPAB to resign as a result of that member’s exercise of protected First

26   Amendment rights. Defendant’s conduct extends to other departments, committees, and boards.




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 1           21.     As the council member who appointed Ms. Lathus to the HB CPAB, Carr had

 2   final policymaking authority on the decision to hire and fire Ms. Lathus and to force Ms. Lathus

 3   to make a public statement. Carr was not disciplined for infringing Ms. Lathus’s rights. Indeed,

 4   she was later promoted to the position of mayor as a reward for her politics, policies, and

 5   conduct, including the removal of Ms. Lathus from city government.

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 7                                      FIRST CAUSE OF ACTION

 8                 Government Compelled Speech under U.S. Constitution, amendment I

 9                                     Monell through 42. U.S.C § 1983

10           22.     Plaintiff incorporates by reference paragraphs 1 through 21 of this Complaint as

11   though fully set forth herein in their entirety.

12           23.     Plaintiff was speaking as a private citizen and not as a public employee when she

13   attended and participated in the April 27 Rally.

14           24.     Carr intentionally coerced Plaintiff to make a public statement regarding

15   Plaintiff’s attendance at the April 27 Rally as a condition of Plaintiff retaining her status as a

16   member of the HB CPAB.

17           25.     Defendant Carr was acting in her official capacity as council member of

18   Defendant Huntington Beach when she forced Plaintiff to make the public statement.

19           26.     Defendant’s forcing of Plaintiff to make the public statement violated Plaintiff’s

20   first amendment free speech rights.

21           27.     But for the threat of losing her position as member of the HB CPAB, Plaintiff

22   would not have made the April 29, 2019 public statement.

23           28.     Plaintiff was harmed by Defendant’s forcing her to make the public statement.

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                                                  COMPLAINT - 5
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 1                                    SECOND CAUSE OF ACTION

 2                   Retaliation for Protected Speech, Association, and Assembly under

 3                                      U.S. Constitution, amendment I

 4                                              42. U.S.C § 1983

 5           29.     Plaintiff incorporates by reference paragraphs 1 through 28 of this Complaint as

 6   though fully set forth herein in their entirety.

 7           30.     Plaintiff was speaking as a private citizen and not as a public employee when she

 8   exercised her rights to free speech, association, and assembly by attending and participating in

 9   the April 27 Rally.

10           31.     Defendant terminated Plaintiff’s employment as member of the HB CPAB in

11   retaliation for Plaintiff’s attendance at the April 27 Rally and the appearance of her association

12   with people identified as “Antifa” at that rally.

13           32.     Plaintiff’s attendance and participation in the April 27 Rally was the motivating

14   reason for Defendant’s decision to end Plaintiff’s employment as a member of the HB CPAB.

15           33.     Plaintiff was harmed as a result of Defendant’s termination of her employment as

16   member of the HB CPAB; and

17           34.     Defendant’s conduct caused Plaintiff’s harm.

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19                                             PRAYER FOR RELIEF

20           Plaintiff prays that the Court:

21           1.      Enter a declaration that Defendant’s removal of Shayna Lathus as member of the

22   Huntington Beach Citizen Participation Advisory Board violated Ms. Lathus’s free speech,

23   association, and assembly rights;

24           2.      Issue preliminary and injunctive relief requiring the City of Huntington Beach to

25   reinstate Shayna Lathus as a member of the Huntington Beach Citizens Advisory Board;

26           3.      Award damages according to proof;




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 1          4.     Award reasonable costs and expenses, including attorney’s fees, pursuant to

 2   42 U.S.C. § 1988 or other appropriate state and federal law; and

 3          5.     Any such relief the Court deems just and equitable.

 4

 5   Dated: April 29, 2021                                      ANDREA RUTH BIRD
 6
                                                                /s/ Andrea Ruth Bird
 7                                                              Andrea Ruth Bird
 8
                                                                /s/ Jerold D. Friedman
 9                                                              Jerold D. Friedman
10                                                              Attorneys for Plaintiff
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                                               COMPLAINT - 7
